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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 DOUBLAS ARGUIJO,

         Plaintiff,
                                                                      Case No. 1:20-cv-378
 v.
                                                                      HON. JANET T. NEFF
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

         Defendants.
 ____________________________/

                                            ORDER

         Pending before the Court is Defendants’ Motion to seal their pre-motion conference

request (ECF No. 5), seeking leave to file under seal their proposed pre-motion conference request

(ECF No. 8). The Court, having reviewed the filings, finds that the request is properly denied.

While Defendants may be statutorily prohibited from using or disclosing any information that

relates to an alien who is the beneficiary of certain applications for relief, Defendants did not

specifically identify any information in their proposed pre-motion conference request that relates

to Plaintiffs that would require sealing the document. Accordingly:

        IT IS HEREBY ORDERED that the Motion to seal the pre-motion conference request

(ECF No. 5) is DENIED.

        IT IS FURTHER ORDERED that the Proposed Order (ECF No. 6) and the Proposed

Pre-motion Conference Request (ECF No. 8) are STRICKEN.



Dated: July 13, 2020                                          /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
